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                              UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF SOUTH DAKOTA

                                       WESTERN DIVISION
____________________________

UNITED STATES OF AMERICA,                                           CR. 04-50131

                       Plaintiff,

vs.                                                         DEFENDANT’S FIRST MOTION
                                                            FOR RECONSIDERATION OF
JOHN WATERS,                                                   PRETRIAL RELEASE

                       Defendant.

___________________________

       Comes now John Waters, Defendant above-named, by and through the Office of the

Federal Public Defender, and moves this Honorable Court for its Order modifying the Detention

Order previously entered herein. The grounds and reasons in support of this Motion are as

follows:

       Assistant Federal Public Defender Monica D. Thomas has requested that the probation

officer on this case, Jane Rager, investigate potential conditions of pretrial release in this matter.

Ms. Rager has been asked to investigate a possible release of Defendant to attend treatment at the

North East Panhandle Substance Abuse Center (NEPSAC), in Gordon, Nebraska. Defendant has

been accepted for admittance on January 27, 2005. Attached is Defendant’s letter of acceptance

from NEPSAC. Defendant respectfully requests that he be released on January 27, 2005, on

pretrial release with the condition that he attend and successfully complete inpatient treatment at

NEPSAC. Transportation will be provided by Defendant’s sister, Kathy Waters. Upon

completion of treatment, Kathy Waters will transport Defendant back to the Pennington County
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Jail.

        This motion is limited to the request that Defendant be released to attend treatment at

NEPSAC pending possible further Order of this Court.

        Dated this 6th day of January, 2005.

                                           Respectfully submitted,

                                           JEFFREY L. VIKEN
                                           Federal Public Defender
                                           By:
                                           /s/ Monica D. Thomas__________________________
                                           Monica D. Thomas, Assistant Federal Public Defender
                                           Attorney for Defendant
                                           Office of the Federal Public Defender
                                           District of South Dakota
                                           703 Main Street, 2nd Floor
                                           Rapid City, SD 57701
                                           Telephone: 605-343-5110 Facsimile: 605-343-1498




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                                      CERTIFICATE OF SERVICE

       I hereby certify that on this 6th day of January, 2005, a true and correct copy of the
foregoing Defendant’s First Motion for Reconsideration of Pretrial Release was served upon the
following person, by placing the same in the service indicated, addressed as follows:

        Jonathan A. Kobes                            [ ]   U.S. Mail
        Assistant U.S. Attorney                      [ ]   Hand Delivery
        United States Courthouse                     [ ]   Facsimile
        515 Ninth Street                             [ ]   Federal Express
        Rapid City, SD 57701                         [X]   Electronic Case Filing

        Jane Rager                                   [ ]   U.S. Mail
        U.S. Probation                               [ ]   Hand Delivery
        United States Courthouse                     [ ]   Facsimile
        515 Ninth Street                             [ ]   Federal Express
        Rapid City, SD 57701                         [X]   Electronic Case Filing



                                               /s/ Monica D. Thomas__________________
                                               Monica D. Thomas




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